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   The following constitutes the ruling of the court and has the force and effect therein described.



   Signed March 8, 2017
                                              United States Bankruptcy Judge
   ______________________________________________________________________



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

IN RE:                                                                 Case Number: 16-41005-RFN

James Lee Bradberry & Tiffany Hare Bradberry                           Chapter 13

                                                                       JUDGE RUSSELL F NELMS
     DEBTOR(S)



             ORDER APPROVING TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS,
                 OBJECTION TO CLAIMS, AND PLAN MODIFICATION (if required)


   CAME ON FOR CONSIDERATION the Trustee's Recommendation Concerning Claims, Objection to Claims
and Plan Modification (if required). The Court hereby approves such recommendation/ modification, subject to
reconsideration for cause pursuant to 11 U.S.C. §502(j) and Bankruptcy Rule 3008.

    It is therefore ORDERED, ADJUDGED AND DECREED that the Trustee's Recommendation Concerning
Claims, Objection to Claims and Plan Modification (if required) is hereby approved, except:
   The following changes will be made to Debtor Payments, Plan Base and/or Plan Term:

    $1,500.00 X 1; $2,900.00 X 1; $2,150.00 X 54 FOR A BASE AMOUNT OF $129,100.00 IN 60 MONTHS.
     1. The PRIORITY claim of INTERNAL REVENUE SERVICE, Claim # 5 has been amended by
        claimant to $0.00.

     2. The UNSECURED claim of INTERNAL REVENUE SERVICE, Claim # 5 has been amended by
        claimant to $0.00.
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James Lee Bradberry & Tiffany Hare Bradberry


For purposes of distribution under the plan, Section 506 and Section 1325(a)(5) of the Bankruptcy Code, the
value of the collateral securing any claim herein, annual percentage rate and treatment of the claim
secured thereby as set forth in Section I, Paragraphs "E", "F", and "G" of the Debtors' Chapter 13 Plan and
Motion for Valuation as previously confirmed, is\are modified as follows:

                                                                                                   TREATMENT      MORTGAGE
                                                                        ANNUAL                  (Monthly Paym ent  MONTHS
                                                CLAIM     COLL.       PERCENTAGE                  Direct Surr or     IN
   CREDITOR NAME            COMMENT             AMOUNT    VALUE          RATE                        ProRata)       PLAN
LEE LAW FIRM            Priority               $400.00    $0.00    0.00%                              ProRata




                                               # # # END OF ORDER # # #
